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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE


BRISTOL-MYERS SQUIBB_ COMPANY AND
PFIZER INC.,

      Plaintiffs and Counterclaim-Defendants,
                                                           C.A. No. 17-374-LPS
              v.                                           (CONSOLIDATED)

AUROBINDO PHARMA USA INC.,

      Defendant and Counterclaim-Plaintiff.




                       STIPULATION AND ORDER OF DISMISSAL

       Plaintiffs Bristol-Myers Squibb Company and Pfizer Inc., and Defendant Torrent

Pharmaceuticals Ltd., by their respective undersigned counsel, hereby STIPULATE and AGREE

as follows:

       1.      All claims and counterclaims, defenses, motions and petitions asserted in this

Action are dismissed without prejudice;

       2.      Each party shall bear its own costs and attorneys' fees with respect to the matters

dismisse4 hereby;

       3.      The. parties each expressly waive any right to appeal or otherwise move for relief

from this Stipulation and Order;

       4.      This Court retains jurisdiction over the parties. for purposes of enforcing this

Stipulation and Order; and

       5·.     This· Stipulation and Order shall finally resolve the Action between the parties.
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             Dated: December 18, 2017                    Respectfully submitted,

             FARNANLLP                                   PHILLIPS GOLDMAN MCLAUGHLIN &
                                                         HALL, P.A.

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             IT IS SO ORDERED this           day of December, 2 17.


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